Case 2:22-cv-06340-JS-JMW Document 20-2 Filed 06/26/23 Page 1 of 2 PagelD #: 515

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

MARIO E. CASTRO,
Civil Action No.: 22CV6340(JS) (JMW)
Plaintiff(s),
Vv. AFFIDAVIT OF SERVICE
NEWREZ, LLC et al.
Defendant(s)

 

 

 

 

STATE OF NEW YORK )
, ) ss:
COUNTY OF NEW YORK )

3 L, Alisha McGhee, being duly sworn, hereby certify that I am over eighteen years of age,
a resident of Kings County, New York, employed as an Office Services Clerk with Akerman
LLP, 1251 Avenue of the Americas, 37" Floor, New York, NY 10020, and that I am not a party
to this action.

I hereby certify that on the 26" day of June, 2023, I caused a true and correct copy of
PRE-MOTION LETTER TO HON, JOANNA SEYBERT, U.S.D.J. and CASE LAW , to be
served upon the party listed below, by depositing said documents in a securely sealed, fully post-
paid, mail envelope, for Regular Mail delivery under the exclusive care and custody of the
USPS, properly addressed, to the following:

Mario Castro

419 West Hills Road
Melville, NY 11747

7115420151
Case 2:22-cv-06340-JS-JMW Document 20-2 Filed 06/26/23 Page 2 of 2 PagelD #: 516

Qnle-ipes
Alisha McGhee
Sworn to before me this

26th day of June, 2022

Notary Public

_ PAMELA ROSANA MARTINEZ
. NOTARY PUBLIC-STATE OF NEW YORK
-No..01MA6314397
Qualified in Queens County
My Commission Expires 11-03-2026

7115420131
